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Attorneys for Third-Party Cross-Claim Defendant
ABIGAIL GAURINO

                   UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, by MILLICENT )           CIVIL NO. 16-00347 JMS RLP
ANDRADE and CRAIG B. STANLEY, )
Its Managing Members; THE EDMON )          THIRD-PARTY CROSS-CLAIM
KELLER AND CLEAVETTE MAE        )          DEFENDANT ABIGAIL
STANLEY FAMILY TRUST, by        )          GAURINO’S ANSWER TO
CRAIG B. STANLEY, Successor     )          THIRD-PARTY DEFENDANT
Trustee; MILLICENT ANDRADE,     )          ASSOCIATION OF
individually; and, CRAIG B.     )          APARTMENT OWNERS OF
STANLEY, individually,          )          DIAMOND HEAD SANDS
                                )          AMENDED CROSS-CLAIM
                    Plaintiffs, )          FILED 02/03/18 [239];
                                )          CERTIFICATE OF SERVICE
             vs.                )
                                )
ABNER GAURINO, AURORA           )
GAURINO, ABIGAIL GAURINO, and )
INVESTORS FUNDING               )
CORPORATION, as Trustee for an  )          (Caption continued on next page)
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unrecorded Loan Participation          )
Agreement date June 30, 2014,          )
                                       )
                  Defendants.          )
                                       )
                                       )
APT-320, a Hawaii Limited Liability    )
Company,                               )
                                       )
                Third-Party Plaintiff, )
                                       )
            vs.                        )
                                       )
APARTMENT OWNERS OF                    )
DIAMOND HEAD SANDS,                    )
                                       )
                Third-Party Defendant, )
                                       )
            vs.                        )
                                       )
ABIGAIL GUARINO, ATOOI                 )
ALOHA, LLC, a Nevada Limited           )
Liability Company, CRAIG B.            )
STANLEY, as Trustee for THE            )
EDMON KELLER AND CLEAVETTE )
MAE STANLEY FAMILY TRUST,              )
CRAIG B. STANLEY, individually and )
MILLICENT ANDRADE, individually, )
                                       )
   Third-Party Cross-Claim Defendants. )
________________________________ )




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  THIRD-PARTY CROSS-CLAIM DEFENDANT ABIGAIL GAURINO’S
    ANSWER TO THIRD-PARTY DEFENDANT ASSOCIATION OF
        APARTMENT OWNERS OF DIAMOND HEAD SANDS
                 AMENDED CROSS-CLAIM

      Comes now Third-Party Cross-Claim Defendant, Abigail Guarino, by and
through her attorneys, John R. Remis, Jr. and Robert D. Eheler, Jr., and hereby
submits her Answer to Third-Party Defendant Association of Apartment Owners
of Diamond Head Sands Amended Cross-Claim[239] filed February 3, 2018 as
follows:
      1.     Denies the allegations of the Amended Cross-Claim as contained in
paragraphs 13 and 22.
      2.     Denies knowledge or information to form a belief as to the allegations
of the Amended Cross-Claim contained in paragraphs 1, 2, 3, 10, 11, 12, 14, 15,
16, 17, 18, 19, 20, 24, 25 and 26 (matters of law are deferred to the Court for
determination).
      3.     Admits the allegations of the Amended Cross-Claim as contained in
paragraphs 4, 5, 6, 7, 8 (except denies knowledge or information sufficient to form
a belief as to Exhibit “A” and its content) and 9.
      4.     Repeats and reiterates the denials with respect to the allegations of
the Amended Cross-Claim as contained in paragraphs 21and 23.




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      WHEREFORE, Cross-Claim Defendant, Abigail Gaurino, respectfully
requests this Honorable Court to dismiss the Amended Cross-Claim filed herein
and such other relief as may be just and proper.
      DATED: Honolulu, Hawai‘i, April 13, 2018.


                                      /S/ JOHN R. REMIS, JR.
                                      JOHN R. REMIS, JR.
                                      ROBERT D. EHELER, JR.
                                      Attorneys for Amended Cross-CLaim
                                      Defendant Abigail Guarino




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                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing Third-party Cross-
claim Defendant Abigail Gaurino’s Answer to Third-party Defendant Association
of Apartment Owners of Diamond Head Sands Amended Cross-claim Filed
02/03/18 [239] was duly served on the parties below via CM/ECF.
TO:

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Attorney for Third-Party Defendant
APARTMENT OWNERS OF DIAMOND HEAD SANDS

      DATED: Honolulu, Hawai‘i , April 13, 2018.


                                    /s/ John R. Remis, Jr.
                                    JOHN R. REMIS, JR.
                                    ROBERT D. EHELER, JR.
                                    Attorneys for Gaurino Defendants




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